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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

NATIN PAUL,
                               Petitioner,

-vs-                                                              Case No. A-24-CV-01271-DAE

JAN SOIFER, TRAVIS COUNTY DISTRICT
JUDGE, and SALLY HERNANDEZ, SHERIFF,
TRAVIS COUNTY JAIL,
                        Respondents.
__________________________________________


              ORDER DIRECTING RESPONDENTS
                   to ANSWER PETITION

        In accordance with Rules 4 and 5 of the Rules Governing Section 2254 Cases, the Clerk
shall serve Respondents with a copy of Petitioner’s Habeas Corpus Petition and Emergency
Application for Stay of the State Trial Court’s Criminal Contempt Order and direct
Respondents to file Answers or other responses.

       Accordingly, IT IS ORDERED:

       1. Service on Respondents: The Clerk shall serve the Petition, the Emergency Application
for Stay of the State Trial Court’s Criminal Contempt Order, and this Order electronically via
CM/ECF on the Texas Attorney General, directed to the attention of Edward Marshall, Assistant
Attorney General, Chief of Criminal Appeals Division, and Laura Haney.

       The Clerk shall serve the Petition, the Emergency Application for Stay of the State Trial
Court’s Criminal Contempt Order, and this Order on Travis County District Judge Jan Soifer and
Travis County Sheriff Sally Hernandez, by certified mail, return receipt requested.

       A courtesy copy of the Petition, the Emergency Application for Stay of the State Trial Court’s
Criminal Contempt Order, and this Order shall be mailed by certified mail, return receipt requested,
to Travis County District Attorney Jose Garza and Travis County Attorney Delia Garza.

       2. Respondents’ Response to the Emergency Application for Stay: Respondents shall file
responses within FIVE DAYS after receipt of the Emergency Application.

        3. Respondents’ Answers: Respondents shall file Answers within twenty-eight (28) days
after receipt of the Petition. Respondents’ Answers shall conform to Rule 5 of the Rules Governing
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Section 2254 Cases and Federal Rule of Civil Procedure 12. Respondents shall serve Petitioner with
a copy of the Answers as required by Federal Rule of Civil Procedure 5(b).

       4. Affirmative Defenses: Respondents should address whether Petitioner has exhausted
administrative or state court remedies, whether the Petition was filed within the one-year limitations
period of 28 U.S.C. § 2244(d), and whether Petitioner’s claims are barred by abuse of the writ.

       5. Petitioner’s Reply: Petitioner shall file his Reply to Respondents’ Answer within twenty-
one (21) days after Respondents serve Petitioner with Respondents’ Answers.

       6. State Court Records: Respondents shall provide the Court with the relevant State court
records at the time they file Answers.

       SIGNED this the 23rd day of October 2024.




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                                              DAVID A. EZRA
                                              SENIOR UNITED STATES JUDGE




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